Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 1 of 85 Page ID
                                  #:19149
 Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 1 of 85 Page ID
                                  #:16924




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                                Part 3
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 2 of 85 Page ID
                                 #:19150

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 2 of 85 Page ID
                                    #:16925
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 3 of 85 Page ID
                                 #:19151

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 3 of 85 Page ID
                                    #:16926
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 4 of 85 Page ID
                                 #:19152

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 4 of 85 Page ID
                                    #:16927
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 5 of 85 Page ID
                                 #:19153

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 5 of 85 Page ID
                                    #:16928
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 6 of 85 Page ID
                                 #:19154

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 6 of 85 Page ID
                                    #:16929
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 7 of 85 Page ID
                                 #:19155

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 7 of 85 Page ID
                                    #:16930
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 8 of 85 Page ID
                                 #:19156

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 8 of 85 Page ID
                                    #:16931
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 9 of 85 Page ID
                                 #:19157
 Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 9 of 85 Page ID
                                  #:16932




   China International Communications Co., Ltd. (CICC)                                April 30, 2015
   Attn: Li Lu                                                                  Invoice No. 6300158
   No. 933, Jingmen Building, No. 9
   Yangfangdian Road, Haidian District
   Beijing, China 100038



                                       APRIL INVOICE FOR
                                         STATEMENT OF
                                  SERVICES AND DISBURSEMENTS

   Matter No.:     0094038-000024
   TV PAD Litigation




   DATE        PROFESSIONAL                TIME    DESCRIPTION OF SERVICES




                       PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
                   INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
      PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 10 of 85 Page ID
                                 #:19158


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 China International Communications Co., Ltd. (CICC)
 Invoice No. 6300158
 Page 12




                          TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                   Total Current Services                                   $86,125.05

                   Total Current Disbursements                                     72.87


                   Total Current Invoice                                    $86,197.92

                   Your Portion of Amount Due at 30%                        $25,859.38



                                           SUMMARY BY PROFESSIONAL

 Professional                                      Hours Worked   Billed Per Hours         Bill Amount
 Partner
           Balin, R.                                     42.80            585.00            25,038.00
             Cai, R.                                      2.70            580.50             1,567.35
          Koonce, L.                                     47.30            495.00            23,413.50
        McCauley, C.                                     40.80            459.00            18,727.20
                  Total                                 133.60                              68,746.05
 Associate
          Bayard, S.                                     22.30            459.00            10,235.70
         Wukoson, G.                                     13.00            414.00             5,382.00
                  Total                                  35.30                              15,617.70
 Freelance Legal
          Arweiler, J.                                   10.30            171.00             1,761.30
                  Total                                  10.30                               1,761.30
                Total All Classes                       179.20                             $86,125.05
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 11 of 85 Page ID
                                 #:19159

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 11 of 85 Page ID
                                    #:16934
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 12 of 85 Page ID
                                 #:19160

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 12 of 85 Page ID
                                    #:16935
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 13 of 85 Page ID
                                 #:19161

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 13 of 85 Page ID
                                    #:16936
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 14 of 85 Page ID
                                 #:19162

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 14 of 85 Page ID
                                    #:16937
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 15 of 85 Page ID
                                 #:19163

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 15 of 85 Page ID
                                    #:16938
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 16 of 85 Page ID
                                 #:19164

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 16 of 85 Page ID
                                    #:16939
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 17 of 85 Page ID
                                 #:19165

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 17 of 85 Page ID
                                    #:16940
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 18 of 85 Page ID
                                 #:19166

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 18 of 85 Page ID
                                    #:16941
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 19 of 85 Page ID
                                 #:19167

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 19 of 85 Page ID
                                    #:16942
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 20 of 85 Page ID
                                 #:19168

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 20 of 85 Page ID
                                    #:16943
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 21 of 85 Page ID
                                 #:19169

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 21 of 85 Page ID
                                    #:16944
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 22 of 85 Page ID
                                 #:19170

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 22 of 85 Page ID
                                    #:16945
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 23 of 85 Page ID
                                 #:19171

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 23 of 85 Page ID
                                    #:16946
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 24 of 85 Page ID
                                 #:19172

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 24 of 85 Page ID
                                    #:16947
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 25 of 85 Page ID
                                 #:19173

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 25 of 85 Page ID
                                    #:16948
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 26 of 85 Page ID
                                 #:19174

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 26 of 85 Page ID
                                    #:16949
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 27 of 85 Page ID
                                 #:19175

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 27 of 85 Page ID
                                    #:16950
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 28 of 85 Page ID
                                 #:19176

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 28 of 85 Page ID
                                    #:16951
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 29 of 85 Page ID
                                 #:19177

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 29 of 85 Page ID
                                    #:16952
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 30 of 85 Page ID
                                 #:19178

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 30 of 85 Page ID
                                    #:16953
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 31 of 85 Page ID
                                 #:19179

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 31 of 85 Page ID
                                    #:16954
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 32 of 85 Page ID
                                 #:19180

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 32 of 85 Page ID
                                    #:16955
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 33 of 85 Page ID
                                 #:19181

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 33 of 85 Page ID
                                    #:16956
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 34 of 85 Page ID
                                 #:19182

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 34 of 85 Page ID
                                    #:16957
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 35 of 85 Page ID
                                 #:19183

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 35 of 85 Page ID
                                    #:16958
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 36 of 85 Page ID
                                  #:19184
 Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 36 of 85 Page ID
                                  #:16959




   China International Communications Co., Ltd. (CICC)                                 May 27, 2015
   Attn: Li Lu                                                                  Invoice No. 6304954
   No. 933, Jingmen Building, No. 9
   Yangfangdian Road, Haidian District
   Beijing, China 100038



                                        MAY INVOICE FOR
                                         STATEMENT OF
                                  SERVICES AND DISBURSEMENTS

   Matter No.:     0094038-000024
   TV PAD Litigation




   DATE        PROFESSIONAL                TIME    DESCRIPTION OF SERVICES




                       PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
                   INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
      PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING
 Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 37 of 85 Page ID
                                  #:19185

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                                 #:16960


 China International Communications Co., Ltd. (CICC)
 Invoice No. 6304954
 Page 15

 DATE         PROFESSIONAL                   TIME      DESCRIPTION OF SERVICES


              Total Hours Worked             186.40




                       TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 38 of 85 Page ID
                                 #:19186




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                                 #:16961


 China International Communications Co., Ltd. (CICC)
 Invoice No. 6304954
 Page 16

                    Total Current Services                                   $84,298.50

                    Total Current Disbursements                               22,863.95


                    Total Current Invoice                                   $107,162.45

                    Your Portion of Amount Due at 30%                        $32,148.73



                                            SUMMARY BY PROFESSIONAL

 Professional                                       Hours Worked   Billed Per Hours       Bill Amount
 Partner
            Balin, R.                                     32.10            585.00          18,778.50
              Cai, R.                                      0.50            580.50             290.25
           Koonce, L.                                     68.50            495.00          33,907.50
         McCauley, C.                                     28.80            459.00          13,219.20
                   Total                                 129.90                            66,195.45
 Associate
          Bayard, S.                                       5.00            459.00           2,295.00
          Huang, A.                                        1.50            211.50             317.25
              Ou, E.                                      13.60            211.50           2,876.40
         Wukoson, G.                                      24.80            414.00          10,267.20
           Zhang, S.                                       5.20            238.50           1,240.20
                   Total                                  50.10                            16,996.05
 Freelance Legal
          Arweiler, J.                                     6.00            171.00           1,026.00
                   Total                                   6.00                             1,026.00
 Other
             Johnson, C.                                   0.40            202.50              81.00
                   Total                                   0.40                                81.00
                Total All Classes                        186.40                           $84,298.50
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 39 of 85 Page ID
                                 #:19187

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 39 of 85 Page ID
                                    #:16962
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 40 of 85 Page ID
                                 #:19188

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 40 of 85 Page ID
                                    #:16963
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 41 of 85 Page ID
                                 #:19189

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 41 of 85 Page ID
                                    #:16964
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 42 of 85 Page ID
                                 #:19190

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 42 of 85 Page ID
                                    #:16965
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 43 of 85 Page ID
                                 #:19191

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 43 of 85 Page ID
                                    #:16966
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 44 of 85 Page ID
                                 #:19192

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 44 of 85 Page ID
                                    #:16967
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 45 of 85 Page ID
                                 #:19193

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 45 of 85 Page ID
                                    #:16968
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 46 of 85 Page ID
                                 #:19194

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 46 of 85 Page ID
                                    #:16969
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 47 of 85 Page ID
                                 #:19195

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 47 of 85 Page ID
                                    #:16970
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 48 of 85 Page ID
                                 #:19196

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 48 of 85 Page ID
                                    #:16971
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 49 of 85 Page ID
                                 #:19197

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 49 of 85 Page ID
                                    #:16972
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 50 of 85 Page ID
                                 #:19198

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 50 of 85 Page ID
                                    #:16973
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 51 of 85 Page ID
                                 #:19199

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 51 of 85 Page ID
                                    #:16974
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 52 of 85 Page ID
                                 #:19200

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 52 of 85 Page ID
                                    #:16975
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 53 of 85 Page ID
                                 #:19201

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 53 of 85 Page ID
                                    #:16976
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 54 of 85 Page ID
                                 #:19202

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 54 of 85 Page ID
                                    #:16977
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 55 of 85 Page ID
                                 #:19203

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 55 of 85 Page ID
                                    #:16978
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 56 of 85 Page ID
                                   #:19204
  Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 56 of 85 Page ID
                                    #:16979




   China International Communications Co., Ltd. (CICC)                                 June 26, 2015
   Attn: Li Lu                                                                  Invoice No. 6311805
   No. 933, Jingmen Building, No. 9
   Yangfangdian Road, Haidian District
   Beijing, China 100038



                                        JUNE INVOICE FOR
                                          STATEMENT OF
                                  SERVICES AND DISBURSEMENTS

   Matter No.:     0094038-000024
   TV PAD Litigation




   DATE        PROFESSIONAL                TIME    DESCRIPTION OF SERVICES




                       PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
                   INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
      PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH'S BILLING
 Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 57 of 85 Page ID
                                  #:19205


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 China International Communications Co., Ltd. (CICC)
 Invoice No. 6311805
 Page 10




                        TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                 Total Current Services                                     $51,440.40

                 Total Current Disbursements                                 13,220.86


                 Total Current Invoice                                      $64,661.26

                 Your Portion of Amount Due at 30%                          $19,398.38



                                         SUMMARY BY PROFESSIONAL

 Professional                                      Hours Worked   Billed Per Hours       Bill Amount
 Partner
           Balin, R.                                     23.40            585.00          13,689.00
          Koonce, L.                                     36.50            495.00          18,067.50
        McCauley, C.                                     36.00            459.00          16,524.00
                Total                                    95.90                            48,280.50
 Associate
          Bayard, S.                                      2.70            459.00           1,239.30
          Huang, A.                                       3.60            211.50             761.40
         Wukoson, G.                                      2.80            414.00           1,159.20
                Total                                     9.10                             3,159.90
  Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 58 of 85 Page ID
                                   #:19206




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                                 #:16981


 China International Communications Co., Ltd. (CICC)
 Invoice No. 6311805
 Page 11

              Total All Classes                        105.00       $51,440.40
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 59 of 85 Page ID
                                 #:19207

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 59 of 85 Page ID
                                    #:16982
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 60 of 85 Page ID
                                 #:19208

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 60 of 85 Page ID
                                    #:16983
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 61 of 85 Page ID
                                 #:19209

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 61 of 85 Page ID
                                    #:16984
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 62 of 85 Page ID
                                 #:19210

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 62 of 85 Page ID
                                    #:16985
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 63 of 85 Page ID
                                 #:19211

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 63 of 85 Page ID
                                    #:16986
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 64 of 85 Page ID
                                 #:19212

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 64 of 85 Page ID
                                    #:16987
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 65 of 85 Page ID
                                 #:19213

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 65 of 85 Page ID
                                    #:16988
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 66 of 85 Page ID
                                 #:19214

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 66 of 85 Page ID
                                    #:16989
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 67 of 85 Page ID
                                 #:19215

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 67 of 85 Page ID
                                    #:16990
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 68 of 85 Page ID
                                 #:19216

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 68 of 85 Page ID
                                    #:16991
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 69 of 85 Page ID
                                 #:19217

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 69 of 85 Page ID
                                    #:16992
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 70 of 85 Page ID
                                 #:19218

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 70 of 85 Page ID
                                    #:16993
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 71 of 85 Page ID
                                 #:19219

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 71 of 85 Page ID
                                    #:16994
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 72 of 85 Page ID
                                 #:19220

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 72 of 85 Page ID
                                    #:16995
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 73 of 85 Page ID
                                 #:19221

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 73 of 85 Page ID
                                    #:16996
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 74 of 85 Page ID
                                 #:19222

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 74 of 85 Page ID
                                    #:16997
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 75 of 85 Page ID
                                 #:19223

   Case 2:15-cv-01869-SVW-AJW Document 164-4 Filed 01/11/16 Page 75 of 85 Page ID
                                    #:16998
Case 2:15-cv-01869-SVW-AJW Document 187-6 Filed 04/15/16 Page 76 of 85 Page ID
                                 #:19224

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